Case 9:16-cv-81871-KAM Document 532 Entered on FLSD Docket 09/05/2019 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 9:16-cv-81871-KAM

  LAN LI, et. al.,

  Plaintiffs,

  v.

  JOSEPH WALSH, et. al.,

  Defendants.
  _________________________/


                                               ORDER

          This cause is before the Court upon Plaintiffs’ Motion to Modify Scheduling Order to

  Extend Discovery Cutoff and Schedule Joint Status Conference (DE 505). Defendants KK-PB,

  Financial, LLC and Ali Herischi and Herischi & Associates, LLC filed responses. The Court has

  carefully considered the Motion, the responses and the replies and is otherwise fully advised in

  the premises.

          Plaintiffs request that the Court extend the discovery cutoff for an additional six months,

  the expert discovery deadline by two months and schedule a joint status conference. Two

  Defendants object, claiming that Plaintiffs have not been diligently pursuing discovery and

  delayed filing the related case.

          Given the complexity and enormity of this case, the Court finds Plaintiffs’ request to be

  reasonable. The Court does not see a reason to conduct a status conference to resolve this

  motion.

          Accordingly, it is hereby ORDERED AND ADJUDGED as follows:
Case 9:16-cv-81871-KAM Document 532 Entered on FLSD Docket 09/05/2019 Page 2 of 2



         1)      Plaintiffs’ Motion to Modify Scheduling Order to Extend Discovery Cutoff and

                 Schedule Joint Status Conference (DE 505) is GRANTED IN PART AND

                 DENIED IN PART.

         2)      Discovery deadline is extended until March 30, 2020.

         3)      Expert discovery deadline is extended until May 29, 2020.

         4)      The request for a status conference is DENIED.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 5th day of September, 2019.

                                              ______________________________________
                                              KENNETH A. MARRA
                                              United States District Judge
